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                                  3                              IN THE UNITED STATES DISTRICT COURT

                                  4                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                  5

                                  6      UNITED STATES OF AMERICA,                       Case No. 18-cr-00465-MMC-2
                                                         Plaintiff,
                                  7
                                                                                         ORDER DENYING DEFENDANT'S
                                                   v.                                    APPLICATION TO HEAR REQUEST
                                  8
                                                                                         FOR EXTENSION ON EX PARTE
                                  9      FUJIAN JINHUA INTEGRATED                        BASIS; SETTING BRIEFING
                                         CIRCUIT CO., LTD.                               SCHEDULE AND HEARING DATE
                                  10                     Defendant.
                                  11

                                  12          The Court is in receipt of defendant Fujian Jinhua Integrated Circuit Co., Ltd.'s
Northern District of California
 United States District Court




                                  13   ("Jinhua") Ex Parte Application, apparently received today's date by the Clerk of Court,1
                                  14   to extend from November 19, 2021, to December 30, 2021, the deadline for its
                                  15   compliance with Rule 16(b)(1)(A) and (1)(B) of the Federal Rules of Criminal Procedure.
                                  16          In support thereof, Jinhua states that, on November 10, 2021, it reached out to
                                  17   counsel for the government, seeking an agreement to such proposal, and that, having
                                  18   failed to obtain one, it will be irreparably harmed if the application is not heard on an ex
                                  19   parte basis. Jinhua, however, offers no explanation for why it waited until almost the
                                  20   eleventh hour to contact the government about a date that had been set, by agreement,
                                  21   seven months earlier. (See Doc. No. 160.) Moreover, although Jinhua states the
                                  22   proposed extension "should not delay the pre-trial schedule or the current trial date" (see
                                  23   Jinhua's Appl. at 5:16), the Court, in the absence of a response by the government, is not
                                  24   prepared to so find.2
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                                  26            For reasons unknown, Jinhua chose to email a copy of the application to the
                                       Clerk's office, rather than efile it as required by the Local Rules of this District. See Civil
                                  27   L.R. 5-1(b); Crim. L.R. 2-1.
                                              2
                                  28              For example, the deadline to file motions in limine is December 1, 2021.
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                                  1           Accordingly, the Court hereby DENIES Jinhua's application to hear the matter on

                                  2    what is exceptionally shortened time,3 and instead sets a briefing schedule as follows:

                                  3           1. No later than December 2, 2021, the government shall file any response to the

                                  4    application.

                                  5           2. No later than December 9, 2021, Jinhua shall file any reply

                                  6           3. A hearing on the application is set for December 15, 2021, at 2:15 p.m.

                                  7           IT IS SO ORDERED.

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                                  9    Dated: November 18, 2021
                                                                                              MAXINE M. CHESNEY
                                  10                                                          United States District Judge
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                                  12
Northern District of California
 United States District Court




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                                              Indeed, the Clerk did not docket the application until after 2:30 p.m. and there is
                                  28   no showing the government had otherwise received it.

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